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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


  PENGUIN RANDOM HOUSE
  LLC, HACHETTE BOOK
  GROUP, INC., HARPERCOLLINS
  PUBLISHERS LLC,
  MACMILLAN PUBLISHING
  GROUP, LLC, SIMON &
  SCHUSTER, LLC,
  SOURCEBOOKS LLC, THE
  AUTHORS GUILD, JULIA
  ALVAREZ, JOHN GREEN,
  LAURIE HALSE ANDERSON,
  JODI PICOULT, ANGIE
  THOMAS, HEIDI KELLOGG and
  JUDITH ANNE HAYES,

                  Plaintiffs,

  v.                                           Case No. 6:24-cv-1573-CEM-RMN

  BEN GIBSON, RYAN PETTY,
  ESTHER BYRD, GRAZIE P
  CHRISTIE, KELLY GARCIA,
  MARYLYNN MAGAR, TERESA
  JACOBS, ANGIE GALLO,
  MARIA SALAMANCA, ALICIA
  FARRANT, PAM GOULD, VICKI-
  ELAINE FELDER, KAREN
  CASTOR DENTEL, MELISSA
  BYRD, JAMIE HAYNES, ANITA
  BURNETTE, RUBEN COLON,
  CARL PERSIS, and JESSIE
  THOMPSON,

                  Defendants.
                                      /


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                                       ORDER

        THIS CAUSE is before the Court on the Amended Case Management Report

  (Doc. 75). The United States Magistrate Judge held a preliminary pretrial conference

  on the matter (Min. Entry, Dec. 10, 2024 Hr’g, Doc. 90) and issued a Report and

  Recommendation (“R&R,” Doc. 93), recommending that the Court enter a Case

  Management and Scheduling Order that sets the deadlines indicated in the Amended

  Case Management Report, (id. at 3). Plaintiffs filed an Objection (Doc. 95).

        Pursuant to 28 U.S.C. § 636(b)(1), when a party makes a timely objection, the

  Court shall review de novo any portions of a magistrate judge’s R&R concerning

  specific proposed findings or recommendations to which an objection is made. See

  also Fed. R. Civ. P. 72(b)(3). De novo review “require[s] independent consideration

  of factual issues based on the record.” Jeffrey S. v. State Bd. of Educ. of Ga., 896

  F.2d 507, 513 (11th Cir. 1990) (per curiam). The district court “may accept, reject,

  or modify, in whole or in part, the findings or recommendations made by the

  magistrate judge.” 28 U.S.C. § 636(b)(1).

        Here, as opposed to entering a Case Management and Scheduling Order that

  sets the deadlines indicated in the Amended Case Management Report, Plaintiffs

  “request that the February 4, 202[5] deadline for completing discovery and filing

  any motion to compel be extended by two weeks until February 18, 202[5].” (Doc.

  95 at 1). Plaintiffs make this request to “heed[ ] Judge Norway’s comment that some




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  additional time may be advisable.” (Id.). This proposed modification is unopposed

  by Defendants. (Id. at 1, 2).

        Accordingly, it is ORDERED and ADJUDGED as follows:

            1. The Report and Recommendation (Doc. 93) is ADOPTED as modified

               herein.

            2. The Court shall enter a Case Management and Scheduling Order that

               sets the deadlines indicated in the Amended Case Management Report

               with the modification that the deadline for completing discovery and

               filing any motion to compel be extended until February 18, 2025.

        DONE and ORDERED in Orlando, Florida on January 9, 2025.




  Copies furnished to:

  Counsel of Record




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